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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
  PATRICIA RANTA, PRISCILLA RANTA and
  NICHOLAS RANTA,

                                                 Plaintiffs,               CONFIDENTIALITY
                                                                           STIPULATION AND
                             - against -                                   PROTECTIVE ORDER

 THE CITY OF NEW YORK, et. al.,                                            14 CV 3794 (FB)(LB)
                                              Defendants.

 -----------------------------------------------------------------------x
                  WHEREAS, the parties herein intend to produce certain documents and

information that the parties deem to be confidential or otherwise inappropriate for disclosure;

and

                 WHEREAS, the parties seek to ensure that the confidentiality of these documents

confidentiality remains protected; and

                 WHEREAS, good cause exists for the entry of an Order pursuant to Rule 26(c) of

the Federal Rules of Civil Procedure;

                 NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

and between the attorney for plaintiff and the attorneys for defendants, as follows:

                 1.     As used herein, “Action” shall mean the lawsuit captioned above.

                 2.     As used herein, without waiving any objections the parties might seek to

propose regarding production of those documents, “Confidential Materials” shall mean: (a) New

York City Police Department (“NYPD”) personnel and disciplinary-related records, and records

of investigations regarding the conduct of Members of the Service of the NYPD conducted by

the NYPD, the Civilian Complaint Review Board, or other agencies; (b) plaintiffs’ medical

and/or mental health and/or addiction treatment records;; and (c) other documents and
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information that may, in good faith, during the pendency of this litigation, be designated

“Confidential Material” by the parties or the Court, except to the extent that they relate to the

incident(s) underlying the Complaint in the action, are obtained by the parties by subpoena or

pursuant to the New York Freedom of Information Law (“FOIL”), or are otherwise publicly

available.

               3.    As used herein, “Producing Party” shall mean the party requesting that a

particular document or the information contained therein be deemed confidential, and “Receiving

Party” shall mean any party who is not the “Producing Party,” as defined herein, for that

document or information.

               4.    A Receiving Party and that party’s attorneys shall not use the Confidential

Materials produced in discovery in the Action for any purpose other than the evaluation,

preparation, presentation or settlement of claims or defenses in the Action.

               5.    Neither party shall disclose the Confidential Materials to any person other

than a party, an attorney of record for that party, or any member of the staff of that attorney’s

office, except under the following conditions:

                      a.      Disclosure may be made for the purpose of preparing or presenting
                      a party’s claims or defenses in the Action.

                      b.       Disclosure may also be made to an expert or consultant who has
                      been retained or specially employed by a party’s attorneys in anticipation
                      of litigation or preparation for trial of the Action, to a witness at deposition
                      or in preparation for testimony at a deposition or trial, or to the Court.

                      c.     Defendants’ attorneys may also disclose the Confidential Materials
                      to the New York City Police Department, the New York City
                      Comptroller’s Officer, and the New York City Mayor’s Office, solely in
                      connection with the defense or settlement of this Action.

                      d.      Before any disclosure is made to a person listed in subparagraph
                      (b) above (other than to the Court or to a witness at a deposition), the
                      Receiving Party’s attorney shall provide each such person with a copy of
                      this Protective Order, and such person shall consent in writing, in the form


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                       annexed hereto as Exhibit A, not to use the Confidential Materials for any
                       purpose other than in connection with the prosecution, defense, or
                       settlement of the Action and not to make further disclosure of the
                       Confidential Materials, except in testimony taken in the Action. The
                       attorneys for a Receiving Party making such disclosure shall retain the
                       signed consent and furnish a copy to the Producing Party’s attorney upon
                       request at a deposition or immediately before trial, although the name of
                       an expert that the Receiving Party does not intend to call as a trial witness
                       may be redacted from such a consent before it is produced.

                       e.      Disclosure of medical records deemed “Confidential” under this
                       Protective Order may also be made to any individual who provided the
                       treatment described in the records or to a member of the staff of the
                       hospital, doctor’s office, or medical provider where the treatment was
                       rendered.

               6.    In order to designate documents or other material as “Confidential” within

the meaning of this Stipulation, the Producing Party may affix the legend “Confidential” to the

documents or material in a manner so as not to interfere with the legibility thereof, and/or may

designate such documents by title, Bates number or other method reasonably calculated to give

the receiving party notice of the confidentiality designation, in a writing directed to the receiving

party. The Producing Party may designate as “Confidential” any documents or material pursuant

to this Order within a reasonable time after production of such documents or material.

               7.    The Producing Party or its counsel may designate deposition exhibits or

portions of deposition transcripts as Confidential either by: (a) indicating on the record during

the deposition that a question relates to Confidential Materials, in which event the reporter will

bind the transcript of the designated testimony in a separate volume and mark it as “Confidential

Information Governed by Protective Order”; or (b) notifying the reporter and all counsel of

record, in writing, within 30 days after a deposition has concluded, of the specific pages and

lines of the transcript that are to be designated “Confidential”, in which event all counsel

receiving the transcript will be responsible for marking the copies of the designated transcript in

their possession or under their control as directed by the Producing Party or that party’s counsel.


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               8.    If a Receiving Party objects to the designation of any Confidential Materials

as confidential, he or she shall state such objection in writing to counsel for the Producing Party,

and counsel shall in good faith attempt to resolve such conflict. If the conflict cannot be resolved

among counsel, the objecting party shall, within 45 days of the initial objection, request the

Court to remove the designation.        Any such materials or information shall be treated as

Confidential until the parties resolve the conflict or the Court issues its ruling regarding the

conflict.

               9.    Inadvertent production of any document or information which is privileged,

was prepared in anticipation of litigation, or is otherwise immune from discovery, shall not

constitute a waiver of any privilege or of another ground for objecting to discovery with respect

to that document, or its subject matter, or the information contained therein during any

proceeding in this litigation or otherwise.

               10.   Any party seeking to file papers with the Court that incorporate Confidential

Materials or reveal the contents thereof shall first make an application to the Court for

permission to file under seal the specific portions of those papers disclosing Confidential

Materials and shall indicate whether any other party objects to that request. No materials shall

be filed under seal unless the Court has issued an Order approving the filing, in which event the

filing shall follow the District Court rules applicable to filing under seal.

               11.   Nothing in this Protective Order shall be construed to limit a Producing

Party’s use of its own Confidential Materials in any manner, or to limit the use of Confidential

Materials or their contents to the extent that they are publicly available or have been provided to

a party through other lawful means, such as a FOIL request.




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                12.   If, following the production of any Confidential Materials, such Confidential

Material is clearly established to be publicly available, Defendants agree to de-designate that

publicly available Confidential Material.

                13.   Notwithstanding the provisions of the Stipulation of Confidentiality and

Protective Order, if either party makes public representations, the substance of which concerns or

is contained in the Confidential Materials, the opposing party may move the Court, on an

expedited basis, for relief.

                14.   This Protective Order will survive the termination of the litigation and will

continue to be binding upon all persons to whom Confidential Materials are produced or

disclosed. All documents or information that have been deemed confidential pursuant to this

Order, including all copies and non-conforming copies thereof, shall remain confidential for all

time. Once the Action has been resolved, including all appeals, the Confidential Materials,

including all copies and non-conforming copies thereof, shall not be used by the Receiving Party

for any purpose without prior Court approval.

                15.   The Court will retain jurisdiction over all persons subject to this Protective

Order to the extent necessary to enforce any obligations arising hereunder or to impose sanctions

for any contempt thereof. Additionally, the Court reserves the right, in its sole discretion, to

modify this Protective Order at any time.

Dated:          December 18, 2020
                New York, New York




                                     [signatures on next page]




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                                                SO ORDERED:
                                                /S/ Magistrate Judge Lois Bloom
                                                ____________________________________
                                                HON. LOIS BLOOM
                                                UNITED STATES MAGISTRATE JUDGE
                                                Dated:   December 21, 2020
                                                         Brooklyn, New York




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                                           EXHIBIT A

               The undersigned hereby acknowledges that he has read the Confidentiality

Stipulation and Order entered in the United States District Court for the Eastern District of New

York dated __________________, _____ in the action entitled, Patricia Ranta, et. al. v. City of

New York, et al., No. 14 CV 3794 (FB)(LB) (EDNY), and understands the terms thereof. The

undersigned agrees not to use the Confidential Materials defined therein for any purpose other

than in connection with the prosecution of this case, and will not further disclose the Confidential

Materials except in testimony taken in this case.




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